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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

PAR PHARMACEUTICAL, INC., PAR
STERILE PRODUCTS, LLC, and ENDO
PAR INNOVATION COMPANY, LLC, | C.A. No. 18-2032-CFC-CJB
(CONSOLIDATED)
Plaintiffs,

Vv.

AMPHASTAR PHARMACEUTICALS
INC., et al.,

Defendant.

 

 

CONSENT ORDER DIRECTING ENTRY OF FINAL JUDGMENT
REGARDING DEFENDANT’S COUNTERCLAIM OF
NON-INFRINGEMENT OF U.S. PATENT NO. 9,774,239

Defendant Fresenius Kabi USA, LLC (“Fresenius”) and Plaintiffs Par
Pharmaceutical, Inc., Par Sterile Products, LLC, and Endo Par Innovation Company,
LLC (“Plaintiffs”) through their respective undersigned attorneys, hereby stipulate
and consent to the following:

WHEREAS in its Amended Counterclaims, Fresenius asserts Counterclaims
X and XI seeking judgment declaring that Fresenius’s manufacture, use, sale, offer
for sale, or importation of the Vasopressin Injection, USP, 200 units/10mL multi-
dose vials, that is the subject of Fresenius’s Abbreviated New Drug Application

(“ANDA”) No. 213205 (including any amendments or supplements thereto

produced by Fresenius to Plaintiffs date in this action, the “Fresenius Multi-Dose
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ANDA”) and Vasopressin Injection, USP, 20 units/ImL single-dose vials, that is the
subject of Fresenius’s ANDA No. 213206 (including any amendments or
supplements thereto produced by Fresenius to Plaintiffs to date in this action, the
“Fresenius Single-Dose ANDA”) (together with the Fresenius Multi-Dose ANDA,
the “Fresenius ANDA Products”), respectively, would not infringe any valid and
enforceable claim of U.S. Patent No. 9,774,239 (“the ’239 patent”);

WHEREAS Fresenius asserts Counterclaim XII seeking a judgment declaring
the claims of the ’239 patent invalid;

WHEREAS Fresenius asserts Counterclaim XXII seeking a judgment
declaring the claims of the ’239 patent unenforceable;

WHEREAS Plaintiffs have granted Fresenius a covenant not to sue with
respect to the ’239 patent, and in view thereof, the Parties have agreed to the entry
of this Consent Order;

IT IS HEREBY ORDERED, ADJUDGED, FOUND, AND DECREED:

l. This Court has jurisdiction over the subject matter of this action and has
personal jurisdiction over the parties.

2. With respect to Fresenius’s Counterclaim X, the Parties stipulate, and
final judgment is hereby entered, that the claims of the ’239 patent have not been,

are not, and would not be infringed by (a) Fresenius’s submission of the Fresenius
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Multi-Dose ANDA to the FDA, or (b) the manufacture, use, importation, offer for
sale, or sale of the Fresenius Multi-Dose ANDA Product.

3. With respect to Fresenius’s Counterclaim XI, the Parties stipulate, and
final judgment is hereby entered, that the claims of the °239 patent have not been,
are not, and would not be infringed by (a) Fresenius’s submission of the Fresenius
Single-Dose ANDA to the FDA, or (b) the manufacture, use, importation, offer for
sale, or sale of the Fresenius Single-Dose ANDA Product.

4.  Fresenius’s Counterclaim XII seeking declaratory judgment of
invalidity of the ’239 patent, is hereby dismissed without prejudice.

5.  Fresenius’s Counterclaim XXII seeking declaratory judgment of
unenforceability of the ’239 patent, is hereby dismissed without prejudice.

6. Accordingly, judgment is hereby entered in favor of Fresenius and
against Plaintiffs with respect to Fresenius’s Counterclaims X and XI. There being
no just reason for delay, the Clerk of Court is hereby authorized and directed to enter
final judgment pursuant to Fed. R. Civ. P. 54(b) in favor of Fresenius and against
Plaintiffs thereon.

7. This Consent Order is not intended to and shall not have any effect on
any other Counterclaim set forth in Fresenius’s Amended Answer, Affirmative
Defenses and Counterclaims (D.I. 149 in C.A. No. 18-2032-CFC (Consolidated)) or

any claims asserted by Plaintiffs in their Complaint (D.I. 1 in C.A. No. 19-1985-
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CFC). This Consent Order is not intended and shall not be deemed to be an
admission as to any disputed fact between the parties relating to any of the remaining
claims, counterclaims or defenses in this action, or to bar a party from seeking to
prove any predicate facts in support thereof.

8. Nothing in this Consent Order prohibits or is intended to prohibit
Fresenius from submitting or maintaining a Paragraph IV Certification pursuant to
21 U.S.C. § 355G)(2)(A)(vii)(IV) with respect to the ’239 patent.

9. This Court retains jurisdiction to enforce or supervise performance
under this Consent Order.

10. Each party shall bear its own costs and attorneys’ fees with respect to

the ’239 patent.

 

 

/s/ Kelly E. Farnan /s/ Anne Shea Gaza

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Dated: August 5, 2020

SO ORDERED, this of” day of Anwt5020

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